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                      Exhibit A
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Expert Report of Dr. Michael P. McDonald


I am Dr. Michael P. McDonald, an Associate Professor of Political Science at the
University of Florida. I am widely regarded as a leading expert on United States
elections. I have published extensively on elections in peer-reviewed journals and I
produce what many consider to be the most reliable turnout rates of the nation and
the states.1 I have specifically published peer-reviewed articles on the reliability of
voter registration files2 and matching algorithms as applied to voter registration
files. 3 In the course of my election work, I consulted for the United States Election
Assistance Commission, the Department of Defense’s Federal Voting Assistance
Program, the Colorado Secretary of State, the Virginia Division of Elections, the
media’s National Exit Poll organization, the Associated Press, ABC News, and
NBC News.
I have testified or submitted expert reports in numerous election-related cases.
With respect specifically to voter registration, I was an expert witness for plaintiffs
challenging the Kansas requirement for documentary proof of citizenship.4 I have
been an expert witness in other litigation specifically involving voter registration in
Florida5 and Washington.6 I also have an extensive publishing record and
experience testifying in redistricting and other election-related cases. Please see my
curriculum vitae for more information.
Plaintiffs’ counsel asked me to analyze a list of 120,561 Georgia registered voters
who were scheduled to be removed from the voter registration rolls as of
December 16, 2019 for the reason of “No Contact” with local election officials.
Specifically, Plaintiffs’ counsel asked me to:



1
  Michael P. McDonald and Samuel L. Popkin. 2001. “The Myth of the Vanishing
Voter.” American Political Science Review 95(4): 963-974.
2
  Michael P. McDonald. 2007. “The True Electorate: A Cross-Validation of Voter
File and Election Poll Demographics.” Public Opinion Quarterly 71(4): 588-602.
3
  Michael P. McDonald and Justin Levitt. 2008. “Seeing Double Voting: An
Extension of the Birthday Problem.” Election Law Journal 7(2): 111-22.
4
  Fish v. Kobach, No. 2:16-cv-02105 (D. Kan.).
5
  League of Women Voters of Florida v. Browning, No. 1:08-cv-21243 (S.D. Fla.).
6
  Washington Association of Churches v. Reed, No. 2:06-cv-000726 (W.D. Wash.).

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 (1) Identify how many, if any, of those 120,561 Georgia registered voters have
voted, registered, or had other contacts with local election officials since each of
January 1, 2010; January 1, 2012; and November 6, 2012, according to Georgia’s
voter records; and
 (2) Analyze whether there are any other anomalies in the list of 120,561 Georgia
registered voters scheduled to be removed from the rolls.
Plaintiffs’ counsel did not ask me to look at this time at additional voters who were
scheduled to be removed for other reasons, including a match to the NCOA
database or having mail returned as undeliverable.
I am compensated at a rate of $400/hour for my work on this case.

Data Sources
I examine two data sources in my analysis for this report.
The first data source is an Excel file downloaded from the Georgia Secretary of
State’s Elections Division webpage entitled “2019 List Maintenance.”7 The
Secretary of State’s webpage describes the file as “[t]he list of registrations subject
to cancellation.”8 The file is titled “2019_NGE.xlsx,” and, according to its
properties, was created on October 30, 2019 at 7:47am by John Hallman and last
modified on October 30, 2019 at 11:39am by Kevin Rayburn. I hereafter refer to
this Excel file as the “Purge List.” This file does not include any changes to the
Purge List that the Georgia Secretary of State’s office may have implemented
following the public disclosure of the list.
The second data source is a Georgia statewide voter registration file generated by
the Secretary of State’s office on November 15, 2019. I hereafter refer to this file
as the “Georgia Registered Voter File.”

Scope of Analysis
There are 313,243 voter records in the Purge List. Each voter record is listed as
having an “Inactive Reason” of either (a) “Returned Mail,” (b) “NCOA,” or (c)



7
  See: 2019 List Maintenance, Ga. Secretary of St.,
https://sos.ga.gov/index.php/elections/2019_list_maintenance (last visited Dec. 13,
2019).
8
  Id.
                                           2
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“No Contact.” There are 120,561 out of the 313,243 voter records that have an
“Inactive Reason” of “No Contact.”
The Secretary of State’s website describes the 120,561 registered voters
represented by these records thusly:
          The remaining 120,561, or 38.5 percent, have had no contact with
          their county election officials since prior to the 2012 presidential
          election and failed to respond to a confirmation card sent by their
          county elections office.9
I match the Purge List with the Georgia Registered Voter File using the voter
registration number common to both datasets. When I do this merge, I find
120,473 records in the Purge List with the same voter registration number in the
Georgia Registered Voter File. The difference of 88 records could be due to any
number of reasons, the most likely being that state election officials removed these
voters from the Georgia Registered Voter File between October 31, 2019 (the last
modified date of the Purge List) and November 15, 2019 (the date of the Georgia
Registered Voter File).
I restrict my analysis that follows to these 120,473 “No Contact” records in the
Purge List that I can match to the Georgia Registered Voter File.

Evidence of Registrants’ Contact with Local Election Officials
The Georgia State Code—Ga. Code Ann. § 21-2-234(a)(1)—defines registered
voters as having “No Contact” with election officials as follows:
          As used in this Code section and Code Section 21-2-235, the term “no
          contact” shall mean that the elector has not filed an updated voter
          registration card, has not filed a change of name or address, has not
          signed a petition which is required by law to be verified by the
          election superintendent of a county or municipality or the Secretary of
          State, has not signed a voter's certificate, has not submitted an
          absentee ballot application or voted an absentee ballot, and has not
          confirmed the elector's continuation at the same address during the
          preceding five calendar years.
The Georgia Registered Voter File provides evidence that some individuals
flagged by the Georgia Secretary of State’s office as being on the Purge List for the

9
    Id.
                                             3
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reason of “No Contact” with local election officials have, to the contrary, had some
contact.
I examine three pieces of information available from the Georgia Registered Voter
File:
      The date a registrant is recorded as having last voted (recorded in a field
       called DATE_LAST_VOTED)10
      The date a registrant is recorded as being registered to vote (recorded in a
       field called REGISTRATION_DATE)
      The date of a registrant’s last contact with election officials (recorded in a
       field called LAST_CONTACT_DATE).
My analysis of these three key pieces of information is as follows.
Prior Voting Record
In Table 1, I report the number of registered voters on the Purge List who are
identified as having “No Contact” with local election officials, and who are
recorded in the Georgia Registered Voter File as having voted in any election that
occurred January 1, 2010 or later.
Consistent with plaintiffs’ counsel’s instructions, I tally the total number of
registered voters on the Purge List who are identified as having “No Contact” with
local officials, and who are recorded in the Georgia Registered Voter File as
having last voted on January 1, 2010 or later; January 1, 2012 or later; and
November 6, 2012 or later. The totals are inclusive, such that the total registrants
who voted January 1, 2010 or later includes those who voted in January 1, 2012 or
later, and so on.




10
  Given that H.B. 316 added voting an absentee ballot as a type of “contact” under
the statute, it is not clear that the Georgia Registered Voter File treated voting an
absentee ballot as part of the “last voted” category prior to April 2019.
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                          Number of
                         Registrants
        Election Date      Listed as
        Last Voted In           "No
(according to Georgia    Contact" in
Registered Voter File)    Purge List
              2/2/2010             1
            3/16/2010              3
            4/13/2010              3
            5/11/2010              8
              6/8/2010             3
            7/20/2010          2,154
            8/10/2010            942
            9/21/2010              9
            11/2/2010         28,725
           11/30/2010          1,425
            2/15/2011             27
            3/15/2011            423
            4/12/2011              5
            6/21/2011             44
            7/19/2011            102
            8/16/2011             77
            9/20/2011             18
           10/18/2011             33
            11/8/2011          2,106
            12/6/2011             72
              1/3/2012             1
              3/6/2012         3,678
              4/3/2012             6
            11/6/2012            293
            11/5/2019             17

 Total 1/1/2010 or
 later                        40,175
 Total 1/1/2012 or
 later                         3,995
 Total 11/6/2012 or
 later                           310
Table 1. “No Contact” Registrants, Last Election Voted In
                                       5
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These totals are as follows:
      40,175 “No Contact” registrants last voted in an election held January 1,
       2010 or later.
      3,995 “No Contact” registrants last voted in an election held January 1, 2012
       or later. I note that this approximate number of voters—about 4000—were
       removed from the Purge List before the final purge, according to the Atlanta
       Journal-Constitution.11
      310 “No Contact” registrants last voted in an election held November 6,
       2012 or later. This total includes 293 registrants who the media outlet APM
       Reports identified, and the Georgia Secretary of State verified, were
       incorrectly identified as “No Contact” due to a data conversion problem
       from Lowndes County, Georgia.12
Date of Registration
In Table 2, I report the number of registered voters on the Purge List who are
identified as having “No Contact” with local election officials, and who are
recorded in the Georgia Registered Voter File as having a voter registration date of
January 1, 2010 or later; January 1, 2012 or later; and November 6, 2012 or later.
The totals are inclusive, such that the total registrants who registered January 1,
2010 or later includes those who registered on or after January 1, 2012, and so on.




11
   Mark Niesse, Judge Allows Georgia To Purge 309K Voter Registrations
Overnight, Atlanta Journal-Constitution (Dec. 16, 2019),
https://www.ajc.com/news/state--regional-govt--politics/judge-allows-georgia-
purge-309k-voter-registrations-overnight/fVBSMzCLR7ontBc3RpjyrJ/.
12
   See: Geoff Hing, Georgia Nearly Purged Hundreds of Eligible Voters By
Mistake, APM Rep. (Nov. 8, 2019),
https://www.apmreports.org/story/2019/11/08/georgia-nearly-purged-hundreds-of-
eligible-voters-by-mistake.
                                          6
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                             Number of
                             Registrants
     Registration Date         Listed as
         (according to              “No
   Georgia Registered        Contact” in
            Voter File)       Purge List
 Total 1/1/2010 or
 later                      60,415
 Total 1/1/2012 or
 later                      12,043
 Total 11/6/2012 or
 later                          21
Table 2. “No Contact” Registrants, Registration Date
The totals are as follows:
    60,415 “No Contact” registrants’ registration date is recorded as January 1,
     2010 or later.
    12,043 “No Contact” registrants’ registration date is recorded as January 1,
     2012 or later.
    21 “No Contact” registrants’ registration date is recorded as November 6,
     2012 or later.
Among the 21 registrants whose registration date is January 1, 2012 or later, five
have registration dates seemingly after the Secretary of State’s office generated the
Purge List. One has a registration date of October 30, 2019, two have a registration
date of November 11, 2019, and two have a registration date of November 13,
2019. I do not have an explanation for this, as I would expect a registration date to
represent the date a registration record was established by Georgia election
officials.
Last Contact
The Georgia Registered Voter File has a field labeled LAST_CONTACT_DATE. I
am uncertain what information is tracked in this field, as the State’s documentation
only identifies the existence of this field. I provide statistics for this field in the
event that this field identifies the last contact a registered voter had with local
election officials.
In Table 3, I report the number of registered voters on the Purge List who are
identified as having “No Contact” with local election officials, and who are
                                           7
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recorded in the Georgia Registered Voter File as having a last contact date of
January 1, 2010 or later; January 1, 2012 or later; and November 6, 2012 or later.
As before, the totals are inclusive, such that the total registrants who have a last
contact of January 1, 2010 or later includes those who are listed as having a last
contact date on or after January 1, 2012, and so on.
                               Number of
                               Registrants
                                 Listed as
       Last Contact Date              “No
  (according to Georgia        Contact” in
  Registered Voter File)        Purge List
 Total 1/1/2010 or later          119,997
 Total 1/1/2012 or later           22,896
 Total 11/6/2012 or
 later                             529
Table 3. “No Contact” Registrants, Last Contact Date
The totals are as follows:
    119,997 “No Contact” registrants’ last contact date is recorded as January 1,
     2010 or later.
    22,896 “No Contact” registrants’ last contact date is recorded as January 1,
     2012 or later.
    529 “No Contact” registrants’ last contact date is recorded as November 6,
     2012 or later.
I conduct forensics work on LAST_CONTACT_DATE to help me form an
opinion as to what the field may indicate. I infer a clue as to the purpose of the
LAST_CONTACT_DATE from the DATE_LAST_VOTED field. All of the 293
registered voters incorrectly flagged as not voting in the November 6, 2012 by
APM Reports had their LAST_CONTACT_DATE field updated on November 14,
2019. It appears that on that date an election official changed these voters’ statuses
to correct the error of these voters being included on the Purge List. Similarly,
election officials updated the LAST_CONTACT_DATE of the 17 registered voters
who participated in a November 5, 2019 election in the days immediately
following the election.
The LAST_CONTACT_DATE thus appears to capture contacts between
registrants and election officials. In these cases of voting, the field is capturing

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actions by registered voters that qualify as a contact under Ga. Code Ann. § 21-2-
234(a)(1).
Further investigation of daily statistics in the Georgia Registered Voter File reveals
that prior to May 27, 2012, election officials were regularly recording on an
almost-daily basis batches of last contacts with the registered voters on the Purge
List who are identified as having “No Contact” with local election officials. This
routine daily activity appears to cease on May 27, 2012. After that date, records of
last contact tend to occur on a sporadic basis.
Compiled Figures
In Table 4, I compile the information in Tables 1-3 to provide an inclusive view of
the dates of last contact, registration, and most recent election voted in for the
registered voters on the Purge List who are identified as having “No Contact” with
local election officials.
                                                 Election
                          Last
                                Registration        Date
                        Contact
                                       Date          Last
                          Date
                                                 Voted In
 1/1/2010 or later    119,997             60,415   40,175
 1/1/2012 or later     22,896             12,043    3,995
 11/6/2012 or
                          529            21        310
 later
Table 4. “No Contact” Registrants, Relevant Dates Compiled (cross
referencing names on Purge List with date information in Georgia Registered
Voter File)
In Table 5, I represent the figures contained in Table 4 as a percentage of the total
120,561 registered voters on the Purge List who are identified as having “No
Contact” with local election officials.




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                                           Election
                       Last
                             Registration     Date
                     Contact
                                    Date       Last
                       Date
                                           Voted In
 1/1/2010 or later     99.53%       50.11%  33.32%
 1/1/2012 or later     18.99%        9.99%   3.31%
 11/6/2012 or
                         0.44%         0.02%    0.26%
 later
Table 5. “No Contact” Registrants, Relevant Dates as a Percentage of 120,561
Total Registrants (cross referencing names on Purge List with date
information in Georgia Registered Voter File)




                                     10
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Education
Post-Doctoral Fellow. Harvard University. August 1998 – August 1999.
Ph.D. Political Science. University of California, San Diego. February, 1999.
BS Economics. California Institute of Technology. June, 1989.

Awards
University of Florida Term Professorship. 2019.

Brown Democracy Medal, McCourtney Institute for Democracy at Penn State University. 2018.
  Positive impact on democracy for the Public Mapping Project.

Tides Pizzigati Prize. 2013. Public interest software for DistrictBuilder.

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  Duverger’s Law of Plurality Voting: The Logic of Party Competition in Canada, India, the
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  eds. New York, NY: Springer.

Michael P. McDonald. 2008. "United States Redistricting: A Comparative Look at the 50
  States." in Redistricting in Comparative Perspective, Lisa Handley and Bernard Grofman,
  eds. Oxford, U.K.: Oxford University Press.

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  Political Encyclopedia of U.S. States and Regions, Donald Haider-Markel, ed. New York,
  NY: MTM Publishing.

Michael P. McDonald. 2006. “Redistricting and District Competition” in The Marketplace of
  Democracy, Michael P. McDonald and John Samples, eds. Washington, DC: Brookings
  Press.

Micah Altman, Karin Mac Donald, and Michael P. McDonald. 2005. “Pushbutton
  Gerrymanders? How Computing Has Changed Redistricting” in Party Lines: Competition,


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Bruce Cain, Karin Mac Donald, and Michael P. McDonald. 2005. “From Equality to Fairness:
  The Path of Political Reform Since Baker v Carr” in Party Lines: Competition, Partisanship
  and Congressional Redistricting, Bruce Cain and Thomas Mann, eds. Washington, DC:
  Brookings Press.

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  Vol. 3. Kimberly Kempf-Leonard, ed. San Deigo, CA: Elsevier Inc.

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  S. Bullock III (book review).” American Review of Politics (Fall 2010/Spring 2011).

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  Election.” The Forum 6(4).

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  Hill (book review).” Political Science Quarterly 121(3): 516-7.

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  Midterm Election." The Forum 4(3).

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  Earnest 2006)." PS: Political Science and Politics 39(4): 795.

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  Election." The Forum 2(4).


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  Elections." Legislative Studies Section Newsletter (Fall): 14-18.

Michael P. McDonald. 2004. "2001: A Redistricting Odyssey." State Politics and Policy
  Quarterly 4(4): 369-370.

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  Statistical Software" in The Political Methodologist 9(1).

Michael P. McDonald. 1999. "Representational Theories of the Polarization of the House of
  Representatives" in Legislative Studies Section Newsletter, Extension of Remarks 22(2): 8-10.

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  Behavior." The Forum 1(4).

Reports

Michael P. McDonald. 2009. "Voter Preregistration Programs." Fairfax, VA: George Mason
  University.

Michael P. McDonald. 2009. Midwest Mapping Project. Fairfax, VA: George Mason University.

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  Administration Survey." Fairfax, VA: George Mason University.

Kimball Brace and Michael P. McDonald. 2005. "Report to the Election Assistance Commission
  on the Election Day Survey." Sept. 27, 2005.

Opinion Editorials

Michael P. McDonald. 2019. "Let 16-year-olds vote for L.A. school board." Los Angeles Times.
  May 8, 2019.

Michael P. McDonald. 2018. "I agree with Donald Trump, we should have voter ID. Here's how
  and why." USA Today. Jan. 15, 2018.

Michael P. McDonald. 2017. “The Russians are hacking. Luckily the Trump voter fraud
  commission isn't in charge.” USA Today. Sept. 23, 2017.

Michael P. McDonald. 2016. “Better Hope the Election is Not Close.” USA Today. Nov. 2, 2016.

Michael P. McDonald. 2016. “Blame Government for Voting Crisis.” USA Today. March 24,
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Michael P. McDonald, Peter Licari and Lia Merivaki. 2015. "The Big Cost of Using Big Data in
  Elections." The Washington Post. Oct. 18, 2015.



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Michael P. McDonald. 2011. “The Shape of Things to Come: New Software May Help the
  Public Have a Crucial Redrawing of Voting Districts.” Sojouners. April 2011: 11-12.

Micah Altman and Michael P. McDonald. 2011. "Computers: Redistricting Super Hero or Evil
  Mastermind?" Campaigns and Elections Magazine. January 2011.

Michael P. McDonald. 2010. "Who Voted in 2010, and Why It Matters for 2012." AOL News.
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  The Washington Post. July 9, 2010.

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  2008.

Michael P. McDonald. 2008. "Super Tuesday Turned into a Super Flop." Roll Call. Feb. 11,
  2008.

Michael P. McDonald. 2006. "5 Myths About Turning Out the Vote." The Washington
  Post. Oct. 29, 2006, p. B3.

Michael P. McDonald. 2006. "Supreme Court Lets the Politicians Run Wild." Roll Call. June
  29, 2006.

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  Administration." Roll Call. Oct. 27, 2005.

Michael P. McDonald. 2004. “The Numbers Prove that 2004 May Signal More Voter
  Interest.” Milwaukee Journal Sentinel. Milwaukee, WI.

Michael P. McDonald. 2004. "Democracy in America?" La Vanguardia. Barcelona, Spain.

Michael P. McDonald. 2003. "Enhancing Democracy in Virginia." Connection Newspapers.
  March 24.

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  Issues. March, 2001.




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Samuel Popkin and Michael P. McDonald. 2000. "Turnout's Not as Bad as You Think." The
  Washington Post. Nov. 5: B-1.

Samuel Popkin and Michael P. McDonald. 1998. "Who Votes? A Comparison of NES, CPS, and
  VNS Polls." Democratic Leadership Council Bluebook. Sept., 1998.

Software Packages

Micah Altman, Michael P. McDonald, and Azavea. 2012. “DistrictBuilder.” Open source
  software to enable public participation in redistricting. Source code available at Github.
  Project website, http://www.districtbuilder.org.

Micah Altman and Michael P. McDonald. 2007. "BARD: Better Automated Redistricting." R
  package available through CRAN. Source code available at Sourceforge.

Micah Altman, Jeff Gill, and Michael P. McDonald. 2004. "Accuracy: Tools for testing and
  improving accuracy of statistical results." R package available through CRAN.

Grants and Contracts
Election Data Administrative Data Research Facility. ($843,000) Alfred P. Sloan Foundation
   grant to collect precinct election results and boundary data and to upgrade DistrictBuilder
   software.

Virginia Election Data. ($6,500) Produced election data for The Washington Post’s 2019
   Virginia state elections coverage.

Audit of Assignment of Virginia Registered Voters to Districts. ($154,000). Work for the
  Virginia Department of Elections to audit the assignment of registered voters to districts.

National Voter File. ($125,000) Alfred P. Sloan Foundation grant to pilot the collection of a
  national voter file for academic and non-partisan purposes.

Pilot Study for Election Data Administrative Data Research Facility. ($125,000) Alfred P. Sloan
   Foundation grant to collect precinct election results and boundary data and to upgrade
   DistrictBuilder software.

Improving Integrity of Voter File Addresses. ($20,000) Colorado Secretary of State support to
  develop methods to improve voter file addresses.

Fabricating Precinct Boundaries. ($17,000). MIT Election Science and Data Lab support to
  explore fabricating precinct boundaries from geocoded voter files.

UF Informatics Post-Doc Top-Off Award. 2017. ($16,000). Funding from the UF Informatics
  Institute to provide additional post-doc funding in support of Hewlett Foundation grant.



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U.S. Election Project. 2016. ($50,000). Hewlett Foundation support for U.S. Election Project
  Activities.

UF Informatics Institute Seed Fund Award. 2016. ($48,000). Project funded by the UF
  Informatics Institute to explore the reliability of Florida’s voter registration file.

Election Forum. 2016. ($20,000). Project funded by the Pew Charitable Trusts for an election
   forum held at the University of Florida.

Survey of Voter File Accessibility. 2016. ($1,650). Contract from the Institute for Money in
  State Politics to survey costs and accessibility of states’ voter files.

Florida Election Reform. 2015. ($13,000). Project funded by Democracy Fund for an election
   reform forum held in Tallahassee, FL. Pew Charitable Trusts independently provided travel
   support for some speakers.

New York Redistricting. 2011. ($379,000). Project funded by the Sloan Foundation to provide
  for public redistricting in New York and continued software development.

Citizen Redistricting Education, Software Supplemental. 2011. ($50,000). Project funded by
   Joyce Foundation to provide continued redistricting software development for use by
   advocacy groups in six Midwestern states.

National Redistricting Reform Coordination. 2009-10. ($100,000). With Thomas Mann and
  Norman Ornstein. Project funded by Joyce Foundation to support coordination of national
  redistricting reform efforts by the Brookings Institution and the American Enterprise Institute.

Citizen Mapping Project. 2009-10. ($124,000 & $98,000). With Micah Altman, Thomas Mann,
   and Norman Ornstein. Project funded by the Alfred P. Sloan Foundation. An award to George
   Mason University enables development of software that, essentially, permits on-line
   redistricting through commonly used internet mapping programs. A second award to the
   Brookings Institution and American Enterprise Institute provides organizational support,
   including the convening of an advisory board.

Citizen Redistricting Education. 2010. ($104,000). Project funded by the Joyce Foundation.
   Provides for redistricting education forums in five Midwestern state capitals in 2010 and other
   continuing education efforts.

Pre-Registration Programs. 2008-9. ($86,000). Project funded by the Pew Charitable Trusts'
   Make Voting Work Initiative to examine pre-registration programs (voter registration for
   persons under age 18) in Florida and Hawaii.

Sound Redistricting Reform. 2006-9. ($405,000). Project funded by the Joyce Foundation,
  conducted jointly with the Brennan Center for Justice at NYU to investigate impacts of
  redistricting reform in Midwestern states.



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Electoral Competition Project. 2005-6. ($200,000) Project funded by The Armstrong
   Foundation, the Carnegie Corporation of New York, the JEHT Foundation, The Joyce
   Foundation, The Kerr Foundation, Inc., and anonymous donors. Jointly conducted by the
   Brookings Institution and Cato Institute to investigate the state of electoral competition in the
   United States.

George Mason University Provost Summer Research Grant. 2004. ($5,000).

ICPSR Data Document Initiative. 1999. Awarded beta test grant. Member, advisory committee
  on creation of electronic codebook standards.

Academic Experience
Courses Taught: Election Data Science (graduate and undergraduate), Election Law, Public
  Opinion and Voting Behavior, Parties and Campaigns (graduate and undergraduate),
  Comparative Electoral Institutions, Introduction to American Politics, American Politics
  Graduate Field Seminar, Congress, Legislative Politics, Research Methods (undergraduate),
  Advanced Research Methods (graduate), Freshman Seminar: Topics in Race and Gender
  Policies, and Legislative Staff Internship Program.

University of Florida

      Associate Professor. August 2014- Present.

George Mason University

      Associate Professor. May 2007 – May, 2014.
      Assistant Professor. Aug 2002 – May, 2007.

The Brookings Institution

      Non-Resident Senior Fellow. January 2006 – June 2016.
      Visiting Fellow. June 2004 – December 2006.

University of Illinois, Springfield. Assistant Professor. Aug 2000 – June 2002.
  Joint appointment in Political Studies Department and Legislative Studies Center.

Vanderbilt University. Assistant Professor. Aug 1999 – Aug 2000.

Harvard-MIT Data Center. Post-Doctoral Research Fellow. Sept. 1998 – Aug 1999.
  Developed Virtual Data Center, a web-based data sharing system for academics. Maintained
  Record of American Democracy (U.S. precinct-level election data).

University of California-San Diego



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      Assistant to the Director for University of California, Washington DC program. Sept
       1997 – June 1998.
      Instructor for research methods seminar for UCSD Washington interns.
      Visiting Assistant Professor. Spring Quarter 1997.
      Visiting Assistant Professor. Summer Session, Aug 1996 and Aug 1997.
      Teaching Assistant/Grader. Aug 1991 – March 1997.

Professional Service
National Academy of Sciences, Member, Program Committee for “Workshop on 2020 Census
Data Products: Data Needs and Privacy Considerations.”
Non-Profit Voter Engagement Network, Member, Advisory Board. 2007 – present.
National States Geographic Information Council - Geo-Enabled Elections, Member, Circle of
Advisors. 2018 – present.
Election Sciences Conference-in-a-conference at the 207 Southern Political Science Association
Conference. Organizer. 2016.
Overseas Vote Foundation, Member, Advisory Board. 2005 – 2013.
National Capital Area Political Science Association, Member, Council, 2010 – 2012.
State Politics and Policy Quarterly, Editorial Board Member 2004-2011.
Virginia Public Access Project, Member, Board of Directors. 2004 – 2006.
Fairfax County School Board Adult and Community Education Advisory Committee,
Member. 2004 – 2005.
State Politics and Policy Quarterly, Guest Editor. Dec 2004 issue.

Related Professional Experience
Media Consultant

      Edison Media Research/Mitofsky International. Nov. 2018; Nov. 2004; Nov. 2006; Feb.
       2008; Nov. 2008. Worked national exit polling organization's “Decision Desk.”
      Associated Press. Nov. 2016 and Nov. 2010. Worked “Decision Desk.”
      ABC News. Nov. 2002. Worked “Decision Desk.”
      NBC News. Aug 1996. Analyzed polls during the Republican National Convention.

Redistricting/Elections Consultant.

      Consultant. 2019. Virginia Division of Elections. Audited the assignment of registered
       voters to districts.
      Expert Witness. 2018. Georgia Coalition for the Peoples’ Agenda, Inc. et. al v. Kemp.
       No. 1:18-cv-04727-ELR (N.D. Ga.)
      Expert Witness. 2018. Martin v. Kemp. Civil Action No. 1:18-cv-04776-LMM.
      Expert Witness. 2018. Georgia Coalition for the Peoples’ Agenda, Inc. v. Kemp. Civil
       Action No. 1:18-cv-04727-ELR.



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   Expert Witness. 2018. Common Cause Indiana v. Lawson. Case No. 1:17-cv-3936-TWP-
    MPB (Indiana).
   Expert Witness. 2017-18. Benisek v. Lamone. Case No. 13-cv-3233 (Maryland).
   Expert Witness. 2016-2017. Vesilind v. Virginia State Board of Elections. Case No.
    CL15003886 (Virginia).
   Expert Witness. 2016-2017. Fish v. Kobach. Case No. 2:16-cv-02105 (Kansas).
   Expert Witness. 2016. Arizona Libertarian Party v. Reagan. Case No.: 2:16-cv-01019-
    DGC (Arizona).
   Expert Witness. 2016. Georgia State Conf. of the NAACP, et al. v. Brian Kemp. Case No.
    2:16-cv-00219-WCO (Georgia).
   Consultant. Federal Voting Assistance Program. 2014-2015. Analyzed voting experience
    of military and overseas voters.
   Expert Witness. 2013-2014. Page v. Virginia State Board of Elections. No. 3:13-cv-678
    (E.D.VA).
   Expert Witness. 2013-2014. Delgado v. Galvin. (D. MA).
   Beaumont Independent School District. 2013. Prepared response to DOJ data request.
   Federal Voting Assistance Program. 2012-13. Analyzed voting experience of military and
    overseas voters.
   Gerson Lehrman Group. 2012. Provided election analysis to corporate clients.
   Expert Witness. 2011-2012. Backus v. South Carolina. No. 3:11-cv-03120 (D.S.C.).
   Expert Witness. 2012. Wilson v. Kasich. No. 2012-0019 (Ohio Sup. Ct.).
   Consulting Expert. 2011-2012. Bondurant, Mixson, and Elmore, LLP. (Review of
    Georgia's state legislative and congressional redistricting Section 5 submission).
   Consultant. 2012. New Jersey Congressional Redistricting Commission.
   Expert Witness. 2011. Perez v. Texas. No. 5:11-cv-00360 (W.D. Tex.).
   Expert Witness. 2011. Wilson v. Fallin. No. O-109652 (Okla. Sup. Ct.).
   Consultant. 2011. United States Federal Voting Assistance Program.
   Consultant. 2011. Virginia Governor’s Independent Bipartisan Advisory Redistricting
    Commission.
   Consultant. 2011. New Jersey State Legislative Redistricting Commission.
   Expert Witness. 2010. Healey v. State, et al. C.A. No. 10-316--S (USDC-RI).
   Research Triangle Institute. 2008-2009. Consultant for Election Assistance Commission,
    2008 Election Day Survey.
   U.S. State Department. 2008. Briefed visiting foreign nationals on U.S. elections.
   Expert Witness. 2008. League of Women Voters of Florida v. Browning (08-21243-CV-
    ALTONAGA/BROWN)
   Pew Center for the States. 2007. Consultant for Trends to Watch project.
   Expert Witness. 2007. Washington Association of Churches v. Reed (CV06-0726).
   Electoral Assistance Commission. 2005. Analyzed election administration surveys.
   Arizona Independent Redistricting Commission. 2001-2003. Consultant.
   Expert Witness. 2003. Minority Coalition for Fair Redistricting, et al. v. Arizona
    Independent Redistricting Commission CV2002-004380 (2003).
   Expert Witness. 2003. Rodriguez v. Pataki 308 F. Supp. 2d 346 (S.D.N.Y 2004).


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      Consulting Expert. 2002. O'Lear v. Miller No. 222 F. Supp. 2d 850 (E.D. Mich.).
      Expert Witness. 2001-2002. In Re 2001 Redistricting Cases (Case No. S-10504).
      Expert Witness. 2001. United States v. Upper San Gabriel Valley Municipal Water
       District (C.D. Cal. 2000).
      California State Assembly. 1991. Consultant.
      Pactech Data and Research. Research Associate. Aug 1989 - June 1991.

Campaign/Political Consultant.

      Ron Christian for Virginia State Senate. June – November, 2003.
      Theresa Martinez for Virginia House of Delegates. May, 2003.
      Senior Consultant. California State Assembly. Nov. – Dec 1998.
      California Assembly Democrats. June – November 1998.
      Susan Davis & Howard Wayne for CA State Assembly ‘96. 1996.
      Intern. June – Sept 1995. UC-San Diego, Science and Technology Policy and Projects.

Polling Consultant.

      Hickman-Brown. July, 2000. Analyzed national and state level exit and CPS polls for
       use in various campaigns. Analyzed surveys for congressional, state, and local political
       campaigns.
      Decision Research. Aug 1994 – Dec 1994. Conducted and analyzes surveys for
       congressional and statewide campaigns.
      Speaker Jose de Venecia of the Philippines. Feb, 1997.
      Joong-Ang Ilbo/RAND. Oct, 1996. Analyzed survey of Korean attitudes on national
       security issues.
      UCSD. Nov. 1991. Conducted and analyzed survey of student attitudes.




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